Case 6:20-cv-00900-WWB-DCI Document 1 Filed 05/27/20 Page 1 of 50 PageID 1




                          UNITED STATES DISTRICT COURT FOR
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

                                            CASE NO.:

KAREN PAPPAS,

        Plaintiff,
v.

SPACE EXPLORATION TECHNOLOGIES
CORP d/b/a SPACEX a foreign profit corporation
and THOMAS CHOI

      Defendants.
_________________________________________/


             DEFENDANT SPACE EXPLORATION TECHNOLOGIES CORP.
                           NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that defendant Space Exploration Technologies Corp.

(“SpaceX”) hereby removes the action with case number 50-2016-53532 from the Circuit Court

in the Eighteenth Judicial Circuit for the County of Brevard to this Court pursuant to 28 U.S.C. §§

1332, 1441 and 1446(b)(3). Removal of this action on the basis of diversity jurisdiction is proper

for the following reasons:


1. Plaintiff filed her Amended Complaint in state court as Case No. 50-2016-53532 on March 23,

     2020. The Summons and Amended Complaint are attached hereto as, Exhibit A. SpaceX filed

     its Answer and Affirmative Defenses on May 4, 2020. See Exhibit B.

2. Plaintiff Karen Pappas (“Plaintiff”) alleges on June 9, 2016 she was involved in an automobile

     accident with co-defendant Thomas Choi (“Co-defendant”) resulting in bodily injury, pain and

     suffering, as well as past and future medical care. Ex. A, Complaint, ¶ 7-8. She also alleges

     that SpaceX was negligent in allowing co-defendant Choi, an intern, to drive while intoxicated.
     Ex. A, Complaint, ¶ 19-21. And she further alleges that SpaceX is vicariously liable for co-
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                                                                              Notice of Removal by
                                                                     Space Exploration Technologies



   defendant Choi’s negligence. Ex. A, Complaint, ¶ 34-35.

3. This is a civil action over which this Court has jurisdiction under the provisions of 28 U.S.C.

   § 1332, and is one which may be removed to this Court by SpaceX pursuant to the provisions

   of 28 U.S.C. § 1441(b) in that it is a civil action between citizens of different states, and the

   matter in controversy exceeds the sum of $75,000, exclusive of interest and costs, as set forth

   more fully below.

4. The amount in controversy exceeds $75,000 and thus exceeds the jurisdictional minimum of

   this Court, as set forth below. Medical bills are attached as Ex. C.

       Past Medical Specials:

       Brevard County Fire Rescue            $556.08

       Cape Canaveral Hospital               $18,900.20

       Brevard Physician Associations        $103.00

       Coastal Health Systems of Brevard $835.00

       Holmes Regional Med Center            $993.78

       Holmes Regional Med Center            $80,397.13

       Holmes Regional Med Center            $1,148.78

       Wuesthoff Med Ctr-Rockledge           $3,290.00

               Total Billed: $106,223.97

5. There is complete diversity of citizenship in that SpaceX is, and at all relevant times was, a

   corporation organized and existing under the laws of the State of Delaware with its principal

   place of business in Hawthorne, California. Accordingly, at the time of the filing of this Notice

   of Removal, SpaceX was and is a citizen of California and Delaware.

6. As alleged in the Complaint, Plaintiff resides in Brevard County, Florida is and at all relevant

   times was a citizen of Florida. Complaint, ¶ 2.

7. Co-defendant, Thomas Choi was a permanent resident of Georgia at the time of the accident
   and when he was served with process. See Return of Service of Summons to Thomas Choi,
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                                                                              Notice of Removal by
                                                                     Space Exploration Technologies



   Ex. D. Therefore, complete diversity exists between Plaintiff, Choi and SpaceX.

8. The Summons, the Complaint, and all documents served with the Summons and Complaint,

   true and correct copies of which are attached hereto as Ex. A and B, constitute the entire

   process and pleadings filed in the state court action.

9. Removal is timely under 28 U.S.C. § 1446(b)(3) because SpaceX is seeking removal within

   30 days of receiving the documents from which SpaceX could first ascertain the existence of

   federal jurisdiction. Specifically, SpaceX first received Plaintiff’s medical records and bills on

   May 5, 2020. Presumably these documents will serve as evidence of the costs of Plaintiff’s

   past medical treatment and were in any event the first documents from which SpaceX could

   meaningfully assess the amount in controversy in this case.

10. Written notice of the filing of this Notice of Removal has been given to all adverse parties and

   a copy has been filed with the Clerk of the Eighteenth Judicial Circuit Court, Brevard County,

   Florida in accordance with the provisions of 28 U.S.C. § 1446(d).

11. Co-defendant Choi does not object to Removal. Plaintiff Pappas does object to Removal.



       WHEREFORE, Space Exploration Technologies Corp. prays that this action in the

Eighteenth Circuit Court in and for Brevard County be removed to this Court.



DATED:      May 27, 2020                          TYSON & MENDES LLP
                                                  101 N.E. Third Ave., Suite 1500
                                                  Fort Lauderdale, FL 33301
                                                  (954)323-3823
                                                  dfletcher@tysonmendes.com


                                             By: /s/ Damian M. Fletcher
                                                 Damian M. Fletcher, Bar#0056499
                                                 Attorneys for Defendant
                                                 Space Exploration Technologies Corp.
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                         EXHIBIT A
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                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 21366335
Notice of Service of Process                                                                            Date Processed: 04/02/2020

Primary Contact:           Gail Patton
                           Space Exploration Technologies Corp.
                           1 Rocket Rd
                           Hawthorne, CA 90250-6844

Electronic copy provided to:                   Sally Weaver

Entity:                                       Space Exploration Technologies Corp.
                                              Entity ID Number 2112254
Entity Served:                                Space Exploration Technologies Corp. d/b/a Spacex
Title of Action:                              Karen Pappas vs. Space Exploration Technologies Corp. d/b/a Spacex
Document(s) Type:                             Summons and Amended Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Brevard County Circuit Court, FL
Case/Reference No:                            05-2016-CA-53532
Jurisdiction Served:                          Florida
Date Served on CSC:                           04/02/2020
Answer or Appearance Due:                     20 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Douglas R. Beam
                                              321-723-6591

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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Filing # 105315943 E-Filed 03/23/2020 05:19:36 PM


                   IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT
                             IN AND FOR BREVARD COUNTY, FLORIDA

        KAREN PAPPAS,

                Plaintiff,                                     CASE 05-2016-CA-53532

        V.
                                                               SUMMONS
        SPACE EXPLORATION TECHNOLOGIES
        CORP. d/b/a SPACEX, a foreign profit                                      ARR 0 2 2020            ff ~~
        coi-poi•ation, and THOMAS CHOI,                                                           Time:
                                                                    Served Date:
                                                                                Christopher Kady #237
                Defendants.                                                       2nd Judicial Circuit



                       EXPLORATION TECHNO
               d~bLa_SYA.C.EX-,-a tbreignMt'~"il-corporation
                                           o
               c/o Registered Agent — Corporation Service Company
               1201 Hays Street
               Tallahassee, Florida 32301-2525

               A lawsuit has been filed against you. You have 20 calendar days after this suminons is

        served on you to file a written response to the attached complaint with the clerk of this court. A

        phone call will not protect you. Your written response, including the case ntunber given above

        and the names of the parties, must be filed if you want the cout-t to hear your side of the case. If

        you do not file your response on time, you may lose the case, and your wages, money, and

        property may thereafter be taken without further warning fi•om the court. There are other legal

        requirements. You may want to call an attorney right away. If you do not know an attorney, you

        may call an attorney referral service or a legal aid office (listed in the phone book).

               If you choose to file a written response yourself, at the same time you file your written

        response to the court you must also mail or take a copy of your written response to the

        "Plaintiff/Plaintiff's.Attorney" named below.
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                                           IMPORTANTE

        Usted ha sido demandado legalmente. Tiene 20 dias, contados a pai-tir del recibo de esta

notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este tribunal. Una

]lamada telefonica no lo protegera. Si usted desea que el tribunal considere su defensa, debe

presentar su respuesta por escrito, incluyendo el numero del case y los nombres de las partes

interesadas. Si usted no contesta la demanda a tiempo, pudiese pei-der el caso y podi•ia ser

despojado de sus ingresos y propiedades, o privado de sus derechos, sin previo aviso del tribunal.

Existen otros requisitos legales. Si lo desea, puede usted consultar a un abogado inmediatamente.

Si no conoce a un abogado, puede ]lamar a una de las oficinas de asistencia legal que aparecen

en la guia telefonica.


        Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su

respuesta ante el tribunal, deberea usted enviar por correo o entregar una copia de su respuesta a

la persona denominada abajo como "Plaintiff/Plaintiff's Attorney" (Demandante o Abogado del

Demandante).

                                           IMPORTANTE

        Des poursuites judiciares ont ete entreprises contre vous. Vous avez 20 jours consecutifs

a partir de la date de I'assignation de cette citation poui- deposer une i-eponse ecrite a la plainte ci-

jointe aupres de ce tribunal. Un simple coup de telephone est insuffisant polu- vous proteger.

Vous etes obliges de deposer votre response ecrite, avec mention du numero de dossier ci-dessus

et du nom des parties nommees ici, si vous souhaitez que le tribunal entende votre cause. Si vous

ne deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que

votre salaire, votre argent, et vos biens peuvent etre saisis par la suite, sans aucun preavis

ultei-ieur de tribunal. I1 y a d'autres obligaitons juridiques et vous pouvez requerir les services
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immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez telephoner a un service de

reference d'avocats ou a un bureau d'assistance juridique (figuu-ant a I'annuaire de telephones).


         Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement, en

meme temps que cette formalite, faire parvenir ou expedier une copie de votre reponse ecrite au

"Plaintiff/Plaintiff's Attorney" (Plaignant ou a son avocat) noinme ci-dessous.

DOUGLAS R. BEAM, P.A.
Florida Bar 0515604
25 West New Haven Avenue, Suite C
Melbourne, FL 32901-4463
(321) 723-6591
(321) 723-5926
eservicel gdougbeanixorn
eservice2@dougbeam.com
Lawyers for Plaintiff


is    If you are a person witb a disability wbo needs any accommodation in order to participate in
this proceeding, you are entitled, at no cost to you, to the provision of certain assistance. Please
contact the ADA Coordinator at Court Administration, 2825 Judge Fran Jamieson Way, 3rd floor,
Viera, Florida, 32940-8006, (321) 633-2171 ext. 2 at least 7 days before your scheduled coLn-t
appearance, or inunediately upon receiving this notification if the time before the scbeduled
appearance is less than 7 days; if you are hearing or voice impaired, call 711.

THE STATE OF FLORIDA:
To Each Sheriff of the State:

        YOU ARE COMMANDED to serve this summons and a copy of the complaint in this
lawsuit on the above-named defendant(s):

TO:    SPACE EXPLORATION TECHNOLOGIES CORP.. d/b/a SPACEX, a foreign profit
       corporation
       c/o Registered Agent — Corpoi-ation Service Company
       1201 Hays Street
       Tallabassee, Flo►-ida 32301-2525
                  25TH
DATED: Marcli            2O20.

                                               CLERK OF THE CIRCUIT COURT
(SEAL)                                         SCOTT ELLIS
                                               As Clerk of the Court

                                               By                                 ~
                                                       Deputy Clerk
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Filing # 105096023 E-Filed 03/18/2020 02:56:23 PM


                     IN TI-IE CIRCUIT COURT OF THE EIGHTEENTH ,IiJDICIAL CIRCUIT
                                 IN AND FOR BREVARD COUNTY, FLORIDA

       KAREN PAPPAS,                                             CASE 05-2016-CA-53532

               Plaintiff,

        vs.

        SPACE EXPLORATION TECHNOLOGIES
        CORP. d/b/a SPACEX, a foreign profit
        corporation, and THOMAS CHOI,

                Defendants.


                                             AMENDED COMPLAINT

                Plaintiff, Karen Pappas, sues Defendants Space Exploration Tecluiologies Coz•p. d/b/a

        SpaceX, a foreign profit corporation, and Tlionias Clioi, and alleges;

                1.      This is a claim for damages in excess of $30,000.00, exclusive of interest and

        costs, and for trial by jury of all issues so triable as of right by jury.

                2.      At all times material to this Complaint, Karen Pappas tivas st.ri jun•is and a z•esident

        of Brevard County, Florida.

                3.      At all tinies material hereto, Defendant, Space Exploration Tecluiologies Corp.

        d/b/a SpaceX was a foreign profit corporation authorized and cloing btisiness in Bz'evard County,

        Florida,

                4.      At all tinies niaterial liereto, Defendant, Thonlas Choi was st.ri juris and a resident

        of Brevai-d County, Floi•ida, a non-i•esident, or a residetit of Florida wlio subsequently becanie a

        non-resident or a z•esiclent of Florida concealing lus whereabouts.
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         5.        At all tiines material bereto, 1'laintiff, Karen Pappas, was the o«mei•, lessee or wa.s

otlierwise in possession and control of a niotor veliicle wliicli was involved in a crasli on or about

 June 9, 2016, in Brevard County, Florida.

         6.        On or about June 9, 2016, Defendant, Tlionias Choi, leased, owned aiid/or

 maintauied a 2011 Toyota Canny niotor vehicle that was then and there in the possession atid

 control of Thonlas Clioi.

         7.        On or about June 9, 2016, Defendant, Tliomas Clioi, operated said veliicle at oz•

near SR 528 in Merritt Island, Brevard County, Florida, so that he crashed liis motor vehicle into

 the motor veliicle operated by the Plaintiff, Karen Pappas.

          8.       As a z'estilt of the crasli, Plaintiff, Karen Pappas, stuffered bodily injury and

resulting pain and sufferiiig.


                                    COUNT ONE
               NEGLIGENCL OF SPACE EXPLORATION TECHNOLOGIICS CORI'.
                                  D/B/A SPACEX

          9.       The Plaintiff realleges the general allegations contained in pat•agt'aphs 1 tlirough 8

 as tliougli fiilly set forEli hereiii.

          10.      On or about Jiltie 9, 2016, Thomas Choi tivas eanployed at Space Exploration

 Tecluiologies Corp, d/b/a SpaceX in Brevard County.

          11.      On June 9, 2016, Space Exploration Teclinologies Corp. d/b/a SpaceX sponsored

 an intern welcome party at a neighborhood complex located in Titusville, Brevard County,

Florida.

          12.      Tlionias Clioi attended the welcoine party on Jtttie 9, 2016. Tliomas Clioi's

presence at the function was required oz• impliedly or expressly requii'ed by Space Exploration

 Tecbiiologies Corp. d/b/a SpaceX.

                                                     2
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         13.     Tliomas Choi was requireci and/or encouraged to attend the eveiat, whic17 was lield

 for the pu.pose of fiirtliering Space Exploration Tecluiologies Corp. d/b/a SpaceX's btisiness

 interests. Specifically, Space Exploration Technologies Col•p. d/b/a SpaceX wanted Tllomas

 Clioi to attend tbe event because it: a) desired him to nieet other eniployees, i1lCltidlllg ]lltel'ns; b)

 wanted Thomas Choi to learn about otlier Space Exploration Tecluiologies Corp. d/b/a SpaceX

 projects tbat were currently beillg developed and/or were in line fol• fiiture development; c)

 assisted Space Exploration TecIinologies Corp. d/b/a SpaceX in evaluating eniployees, including

 iliterns; d) provided Tliolnas Choi witli the nanaes and contact information for businesses Space

 Exploration Technologies Corp. d/b/a SpaceX was currently doing business with and/or desired

 to do business witli in tbe fiiture; e) to intl•oduce Tlionias Choi to its supervisors and/or ot.ber

 employees he will be worlcing witli; and f) to be introduced to management in a11 areas of Space

 Exploration Teclinologies Corp. d/b/a SpaceX. Thomas Choi's presence was required ol•

 inipliedly or expl•essly required by Space Exploration Tecluiologies Corp. d/b/a SpaceX.

         14.     Space Exploration TecI'illologies Coxp. d/b/a SpaceX pl•ovided food and

 intoxicating beverages at the fuiiction.

         15.     Space Exploration Tecluiologies Corp. d/b/a SpaceX served alcoholic beverages

to Tlionias Clloi to tbe point wliere he becalne ilitoxicated.

         16.     Space Exploration Teclinologies Corp. d/b/a SpaceX's business interests were

advanced by the fiuzction wliicli gave Space Exploration Tecllnologies Corp, d/b/a SpaceX an

oppol•tiinity to interact witll its eniployees, including Tlionias Choi. The piitpose of tlie function

was to improve the employer/eniployee relationsbip and to transact btisiness of Space

Exploration Tecluiologies Corp. d/b/a SpaceX by: a) providing a illeans for employees to meet

otliel- employaes, including interiis; b) allowing tlieni to learn about otlier Space Exploi•ation



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Teclvlologies Corp. cl/b/a SpaceX projects that were etirrently beiaig developed ancl/oi• were in

line for ftiture developnieiit; c) assisting Space Exploration Technologies Corp. d/b/a SpaceX in

evaluating employees, including interns; d) providing the einployees, iiicluding interns, witli the

nanies and contact inforniatioii for businesses that Space Explorat.ion Tecluiologies Corp. d/b/a

SpaceX was currently doing business witlx and/or ciesired to do business witli in tlie fiiture; e) to

introduce them to its supervisors and/or otlier eiiiployees Thonias Choi Nvill be working with; and

f) to be introduced to management ili all areas of Space Exploration Technologies Corp. d/b/a

SpaceX. Thonias Choi's presence was reqttired or impliedly or expressly required by Space

Exploration Tecluiologies Corp. d/b/a SpaceX.

        17.    Space Exploration Tecluiologies Coz•p. d/b/a SpaceX knew that Tlionias Clioi was

intoxicated and was iiot in a condition to drive.

       18.     Space Exploration Technologies Corp. d/b/a SpaceX liad the ability to coiitrol

Thoinas Clioi, but it negligently failed to exercise that cont.rol when it let Tliomas Choi dz•ive

while intoxicated.

       19.     Space Exploration Teehnologies Corp, d/b/a SpaceX was negligent in permitting

Thomas Choi to leave tlie premises and drive his niotoi• veliicle when it laiew o2• should have

lulown that Tlionias Clioi was intoxicated.

       20.     Tliomas Choi left tlae employer-sponsored business fzuzction and proceeded to

drive liis motor veliicle while intoxicated.

       21.     Tlionias Choi operated his vehicle in a negligent mamier so that he craslied liis

niotor veliiele into a motor vehicle operated by Kai•an Pappas.

       22.     As a restilt of the incident, Kareii Pappas suffered bodily injuz•y and resulting pain

and suffering, disability, disfigtu•ement, niental anguish, loss of capacity foi• the enjoynient of



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 life, and the expenses for 1lospitalization, niedicaI care and treat.inent, loss of eat•nings and loss of

ability to earn money and aggravation of a pz•eviously existing coiidition, wliich losses are eithez•

permanent or continuing anct plaintiff will suffer sucli loses in the fiituz•e.

         Wherefore, Plaintiff Karen Pappas deniands judgnient for damages against Defendant,

 Space Exploration Technologies Corp, d/b/a SpaceX, costs of this action, prejtidgment interest,

trial by jury and foi• sucli otl3er relief as the Court niay deeni just and proper.

                                 COUNT TWO
                            VICARIOUS LIABILITY OF
              SPACE EXPLORATION TECHNOLOGIES CORP. cl/b/a SPACEX
                       FOR NEGLIGENCE OF THOMAS CHOI

        23.       The Plaintiff z•ealleges the general allegations contained in paragraphs 1 tlu•ougli 8

as thougli fiilly set foz•tli lierein.

        24.       On or about June 9, 2016, Tlionias Clioi was eniployed at Space Exploration

Teclinologies Corp. d/b/a SpaceX in Brevard County,

        25.       On June 9, 2016, Space Exploi•at.ion Tecluiologies Corp, d/b/a SpaceX sponsored

an interit welconie party at a neigliborliood coniplex located in Titusville, Floz•ida.

        26.       Tlionias Choi attended the welconie party on June 9, 2016. Thonlas C11oi's

presence at the functiozi was required oi• inipliedly or expressly i•eqtiired by Space Exploz•ation

Tecluiologies Coxp. d/b/a SpaceX,

        27.       Thoanas Clioi was required and/or eaicotiraged to attend the event, wliich was lield

for the purpose of fiiz•thering Space Exploration Teclinologies Corp. d/b/a SpaceX's btusiness

interests. Specifically, Space Exploration Tecluiologies Corp. d/b/a SpaceX wanted Tliomas

Choi to attend the event becatise it: a) desired liim to meet otlier employees, including interns; b)

wanted Tliomas Choi to learn abotit other Spacc Exploration Teclinologies Corp, d/b/a SpaceX

pz•ojects that were currently being developed and/or werc in line for fiiture developnient; c)

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assisted Space Exploration Tecluiologies Corp. d/b/a SpaceX in evaluating eniployces, iiieluding

interiis; d) provicled Thoinas Clioi witli the naines and contact inforination foi• businesses Space

Exploration Teciuiologics Corp. d/b/a SpaceX was currently doing busiiiess witli aiid%or desired .

to do business with in the fiiture; e) to introduce Tliomas Claoi to its supervisors and/or other

einployees he will be working witli; and f) to be iiitroduced to managenient in all areas of Space

Exploration Tecluiologies Corp. d/b/a SpaceX. Thomas Choi's presence was required oz•

impliedly ,or expressly required by Space Exploration Tecluiologies Corp. d/b/a SpaceX.

       28.     In attending the event, Tliomas Choi acted within the scope of his eznployment

and at the direction of Space Exploration Teclinologies Corp, d/b/a SpaceX.

       29,     Thomas Clioi's presence was required or inipliedly or expressly required by

Space Exploration Teclanologies Corp, d/b/a SpaceX.

       30.     Space Exploration Technologies Corp. d/b/a SpaceX pz•ovided food and

intoxicating beverages at the function.

       31.     Space Exploration Tecl7nologies Coz•p. d/b/a SpaceX served alcoholic beverages

to Thomas Choi to the point where he becanie iiitoxicated.

       32.     Tlionias Clioi was intoxicated and was not in a condition to drive.

       33.     Thonias Clioi left tlie cniployer-sponsored business fiinction and proceeded to

drive his niotor vellicle ivhile intoxicated, crashing it into the motor vehicle operated by tlle

Plaintiff, Karen Pappas.

       34.     Space Exploration Teclulologies Corp, d/b/a SpaceX is responsible for the actions

of its einployee Choi, taken wliile lie was acting witbin the scope of liis employnient.

       35.     As a result of tlie negligence of Thoiiias Choi in acting witliin the scope of llis

employnient, the Plaintiff, Karen Pappas, was injured. Under the doetrine of respondeat



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superior, Space Exploration Teclinologies Corp. d/b/a SpaceX is i•esponsible for tlie injuries

caused to Plaintiff by Tlioinas Choi.

        Wliez•efoz•e, Plaintiff Karen Pappas deniands judgment for daniages agaiiist Defeudant,

Space Exploration Teclinologies Corp. d/b/a SpaceX, costs of this action, prejudgment interest,

ti•ial by jui•y and for such otlier relief as the Court niay deeni jtust and proper.

                                       COUNT TBRLL
                                NEGLIGENCE OI' THOMAS CHOI

        36.      The Plaintiff realleges the general allegat.iojis contained in paragraphs 1 tliz•ougli 8

as tltouglt fiilly set forth herein.

        37.      On or about June 9, 2016, Defendant, Thozizas Clioi, lcased, owned and/or

maintained a 2011 Toyota Caniiy ntotor vehicle that was tben and there in the possession and

control of Thomas Choi.

        38.      On or about June 9, 2016, Defendant, Thonias Choi, operated said vehicle at or

iiear SR 528 in Mez•ritt Island, Brevard Coulity, rlorida.

        39.      At tbat tinae and place, Defeiidaut, Tliomas Clioi o,'ved the Plaintiff the duty to

maintain and/ot• opei•ate said vehicle witli ordinary and reasonable care so as not to injtire

Plaintiff, Karen Pappas, or damage her property.

        40.      At that tinie and place, Defendaiat, Tliofnas Choi negligetitly operated or

maintained said niotor vehicle so that he craslied his niotor vehicle into the inotor veliicle

operated by the Plaintiff, Karen Pappas,

        41.      As a result of Thomas Clioi's iiegligence, Plaintiff, Karen Pappas, siiffered bodily

injui•y and resulting pain and suffering, disability, disfigurement, niental anguisL, loss of capacity

for the enjoynient of life, experise of hospitalization, niedical care and treatnient, loss of earnings




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and loss of ability to earn iiioiiey, and aggravat.ion of a previotisly existing condition. The losses

are eitlier permanent or cont.inuing and Plaint.iff will suffer sucli losses in the ftiture.

        Wlierefore, Plaiiitiff Karen Pappas cieinands jtidgmeiit for damages against Defeiidant,

Thonias Clioi, costs of this action, prejudgnient interest, t.rial by jury and for stich other relief as

the Couz't may deem just and proper.

                                    CIIRTII'ICATB Or SrRVICE
                                      ~h
        I certify that on this     ~~ day of March 2020, a copy of t11e foz•egoing doclanient has

been pz•ovided to 7effrey A. Carter, Esq., Coiu•oy Siniberg, Tw South Orange Aventte StYite

300, Orlando, Floz'ida 32801 via elech'onic transmission to eserviceorl@conroysirnberg.com

and imoi'i'ow a,conroysll11beC ~~.co111.

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                                                         Douglas R. Beam ~
                                                         Florida Bar 0515604
                                                         Riley H. Beanl
                                                         Florida Bar 100512
                                                         Lori M. Costa
                                                         Florida Bar 0014198




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                           EXHIBIT B
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Filing # 106991674   E-Filed 05/04/2020 09:04:18 AM


              IN THE CIRCUIT COURT OF THE EIGHTEENTH JUDICIAL CIRCUIT IN AND FOR
                                  BREVARD COUNTY, FLORIDA
                                              CASE: 05-2016-CA-53532
        KAREN PAPPAS,

                 Plaintiff,
        vs.

        SPACE EXPLORATION TECHNOLOGIES
        CORP. d/b/a SPACEX, a foreign profit
        Corporation, and THOMAS CHOI,

              Defendants.
        ____________________________________/


         SPACE EXPLORATION TECHNOLOGIES CORP.’S ANSWER AND AFFIRMATIVE
                     DEFENSES AND MOTION TO DISMISS COUNT I
                 COMES NOW Defendant, SPACE EXPLORATION TECHNOLOGIES CORP. d/b/a

        SPACEX, (hereinafter “Defendant”) by and through undersigned counsel, and pursuant to the

        Florida Rules of Civil Procedure 1.140, files this Answer and Affirmative Defenses to Plaintiff,

        KAREN PAPPAS (hereinafter “Plaintiff”) Complaint, and states as follows:

              1. It is admitted that Plaintiff has alleged damages in excess of the jurisdictional limit, but it

                 is denied Plaintiff is entitled to same from Defendant, or otherwise.

              2. Defendant is without sufficient knowledge to admit or deny the allegations in paragraph 2,

                 and therefore denies same.

              3. Admitted.

              4. Defendant is without sufficient knowledge to admit or deny the allegations in paragraph 4,

                 and therefore denies same.

              5. Defendant is without sufficient knowledge to admit or deny the allegations in paragraph 5,

                 and therefore denies same.
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                                             Defendant, Space Exploration Technologies, Corp.
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   6. Defendant is without sufficient knowledge to admit or deny the allegations in paragraph 6,

       and therefore denies same.

   7. Defendant is without sufficient knowledge to admit or deny the allegations in paragraph 7,

       and therefore denies same.

   8. Defendant is without sufficient knowledge to admit or deny the allegations in paragraph 8,

       and therefore denies same.



                              COUNT ONE
         NEGLIGENCE OF SPACE EXPLORATION TECHNOLOGIES CORP.
                             D/B/A SPACEX



       Defendant, SPACE EXLORATION TECHNOLOGIES CORP. d/b/a SPACEX,

(hereinafter “Defendant”) has moved to dismiss Count I of the Amended Complaint.

                             COUNT TWO
                        VICARIOUS LIABILITY OF
          SPACE EXPLORATION TECHNOLOGIES CORP. D/B/A SPACEX
                   FOR NEGLIGENCE OF THOMAS CHOI

   23. Defendant restates and re-alleges its responses to the allegations contained in paragraph 1

       through 9 as set forth herein and would further state.

   24. Defendant admits that on or about June 9, 2016, Thomas Choi was an intern at Space

       Exploration Technologies Corp. d/b/a SpaceX in Brevard County. Any and all other

       allegations contained in paragraph 24 are denied.

   25. Denied as phrased.

   26. Denied as phrased.

   27. Denied.


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                                            Defendant, Space Exploration Technologies, Corp.
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   28. Denied.

   29. Denied.

   30. Denied as phrased.

   31. Denied.

   32. Denied.

   33. Defendant is without sufficient knowledge to admit or deny the allegations in paragraph

      33, and therefore denies same.

   34. Denied.

   35. Denied.

                                       COUNT THREE
                            NEGLIGENCE OF THOMAS CHOI
   36. Defendant restates and re-alleges its responses to the allegations contained in paragraph 1

      through 9 as set forth herein and would further state.

   37. This paragraph is not directed at Defendant, therefore no responses is necessary. To the

      extent a response is necessary, all allegations are denied.

   38. This paragraph is not directed at Defendant, therefore no responses is necessary. To the

      extent a response is necessary, all allegations are denied.

   39. This paragraph is not directed at Defendant, therefore no responses is necessary. To the

      extent a response is necessary, all allegations are denied.

   40. This paragraph is not directed at Defendant, therefore no responses is necessary. To the

      extent a response is necessary, all allegations are denied.

   41. This paragraph is not directed at Defendant, therefore no responses is necessary. To the

      extent a response is necessary, all allegations are denied.

   42. Any allegation herein not specifically admitted is hereby denied.

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                                               Defendant, Space Exploration Technologies, Corp.
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   43. Defendant demands trial by jury on all issues so triable.

                                  AFFIRMATIVE DEFENSES

1. As a First Affirmative Defense, Defendant states that Plaintiff has failed to state a claim against

   Defendant upon which relief may be granted.

2. As a Second Affirmative Defense, this action is subject to the provisions of the Tort Reform

   Act of 1998.

3. As a Third Affirmative Defense, Defendant states that the Plaintiff’s i n j u r i e s w e r e solely

   and proximately the result of the actions and/or negligence of other parties, persons, firms,

   entities or corporations over whom t h i s Defendant had no control or duty to control

   and whose acts Defendant cannot be held legally responsible or liable for, including, but not

   limited to, the Plaintiff himself. See Fabre v. Marin, 623 So.2d 1182 (Fla. 1993) and Fla.

   Stat. §768.81. Defendant asserts the right to all set-offs and limitations of liability pursuant

   to the doctrine of comparative fault. See Id. Defendant reserves the right to supplement

   or modify this Affirmative Defense as discovery is ongoing.

4. As a Fourth Affirmative Defense, Defendant states that the Plaintiff’s damages are the result

   of one or more intervening, superseding causes rather than being a result of any negligence on

   the part of Defendant, and therefore, the Plaintiff cannot recover against Defendant.

5. As a Fifth Affirmative Defense, Defendant states that any recovery by Plaintiff must be

   reduced to the extent of collateral sources paid or available to Plaintiff, including but not

   limited to: any contractual or charitable adjustments or write-offs.

6. As an Sixth Affirmative Defense, Defendant states that at no time or place set forth in the

   Complaint did any other defendant or third person alleged to be at fault, operate as the agent



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                                               Defendant, Space Exploration Technologies, Corp.
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   or employee of Defendant, and within the course and scope of any such agency or employment

   relationship, such that Defendant can be held vicariously liable for his acts.

7. As an S e v e n t h Affirmative Defense, Defendant states that the costs incurred, or paid by

   Plaintiff, if any, for repair of property damage, medical care, custodial care or

   rehabilitation services, loss of earning or other economic loss, in the past or future, were or

   will, with reasonable certainty be replaced or indemnified, in whole or in part, from one or

   more collateral sources, including by or through insurance available to Plaintiff, restitution

   paid by Thomas Choi, and as such Defendant is entitled to have any award reduced in the

   amount of such payments.

8. As a Eighth Affirmative Defense, Defendant asserts that Plaintiff failed to mitigate any

   damages suffered as required under Florida law, and any recovery the Plaintiff may obtain

   should be proportionately reduced as a result of this failure.

9. As a Ninth Affirmative Defense, Defendant asserts that Plaintiff is not entitled to the recovery

   of medical expense damages for future medical treatment as such treatment, if any, may be

   obtained and paid for through the Affordable Care Act (Public Law 111-148).

10. As an Tenth Affirmative Defense, Defendant asserts that Plaintiff has failed, and continues to

   fail, to mitigate damages arising from medical treatment as such expense, if any, may be paid

   for through the Affordable Care Act (Public Law 111-148).

11. As a Eleventh Affirmative Defense, Defendant states if there was any negligence that caused or

   contributed to the Plaintiffs’ alleged damages, it was solely the result of negligence on the part of

   third parties who were not under the care, custody, control or supervision of Defendant, and,

   therefore, Plaintiffs cannot recover against Defendant.




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                                              Defendant, Space Exploration Technologies, Corp.
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12. Defendant specifically reserves its right to amend and plead any and all Affirmative

   Defenses that may become known to it during the course of discovery.




    DEFENDANT’S MOTION TO DISMISS COUNT I OF PLAINTIFF’S AMENDED
                            COMPLAINT
       COMES NOW, Defendant, SPACE EXPLORATION TECHNOLOGIES CORP. d/b/a

SPACEX (hereinafter “Defendant”) by and through its undersigned counsel, and pursuant to

Florida Rules of Civil Procedure 1.140(b)(6), and files this Motion to Dismiss Count I of Plaintiff’s

amended complaint and in support thereof sates as follows:

       This suit arises from a motor vehicle accident that occurred on or around June 9, 2016. The

action is brought by Karen Pappas (“Plaintiff”), who alleges she was injured after being involved

in a motor vehicle accident with Thomas Choi. On March 18, 2020, plaintiff filed a three (3) count

complaint alleging two (2) counts against Defendant SpaceX. Count I for direct negligence against

Defendant, and Count II for vicarious liability based upon the negligence of co-defendant, Thomas

Choi. See Plaintiff’s Amended Complaint, paragraphs 9 through 35.

       Count I of Plaintiff’s amended complaint must be dismissed because plaintiff fails to

properly allege the elements of a claim for direct negligence and, therefore, fails to state a claim

upon which relief may be granted.

                                   STANDARD OF REVIEW

       In filing this motion, Defendant is cognizant of the stringent requirement governing this

Court’s consideration of a motion to dismiss. Generally, a Rule 1.140(b) motion to dismiss cannot

be granted unless the Complaint alleges no set of facts, which if proven would entitle the plaintiff


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                                               Defendant, Space Exploration Technologies, Corp.
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to relief. “The function of a motion to dismiss a complaint is to raise, as a question of law, the

sufficiency of the facts alleged to state a cause of action.” Connolly v. Sebeco, Inc., 89 So. 2d 482,

484 (Fla. 1956); Chiang v. Wildcat Groves, Inc., 703 So. 2d 1083 (Fla. 2d DCA 1997). “In

evaluating a motion to dismiss, the court confines its consideration to the four corners of the

complaint and must accept all well-pleaded allegations as true.” Alvarez v. E&A Produce

Corporation, 708 So. 2d 997, 999-1000 (Fla. 3d DCA 1998).

       In order for a plaintiff to survive a motion to dismiss, a complaint must plead a prima facie

case. Id. Whether plaintiff has pled a prima facie case “depends on the sufficiency of [plaintiff’s]

allegations of fact, excluding bare conclusions.” Id. Where the allegations of the complaint do

not establish a legal right to relief, and the ultimate facts, if proven, would not establish a cause of

action for which relief may be granted, a plaintiff’s cause of action may be dismissed. Newton v.

Davis Transport & Rentals, Inc., 312 So. 2d 200, 201 (Fla. 1st DCA 1975). In the alternative, a

motion for more definitive statement is appropriate for dissipation of vagueness and ambiguity.

FRCP 1.11(e) and (f). Calhous v. Epstein, 121 So. 2d 828, 830 (Fla. 2d DCA 1960); Wilson v.

Clark, 414 So. 2d 526, 528 (Fla. 1st DCA 1982).

       Here, looking solely to the four corners of the amended complaint, plaintiff has failed to

plead allegations giving rise to a legal cause of action for direct negligence against Defendant.

Therefore Count I of plaintiff’s amended complaint should be dismissed.

                                   MEMORANDUM OF LAW

    A. PLAINTIFF FAILS TO PROPERLY ALLEGE ALL ELEMENTS FOR A CAUSE
       OF ACTION FOR NEGLIGENCE AGAINST SPACE-X




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                                              Defendant, Space Exploration Technologies, Corp.
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         Under Florida law, in order to properly plead a cause of action sounding in negligence, a

plaintiff must allege: (1) a duty recognized by law to conform one’s conduct to a standard for the

protection of others against foreseeable and unreasonable risk of injury; (2) a breach of that duty;

(3) the breach must be an actual and proximate cause of the injury; and (4) damages. Estate of

Rotell ex. rel. Rotell v. Kuehnle, 38 So. 3d 783 (Fla. 2d DCA 2010). “The elements of a negligence

cause of action are duty, breach, causation, and damages.” Miller By & Through Miller v. Foster,

686 So. 2d 783, 783 (Fla. 4th DCA 1997).

         Count I of plaintiff’s complaint is completely devoid of any allegation containing a direct

duty owed by Defendant toward plaintiff, nor any allegation of the breach of said duty. See

Plaintiff’s Amended Complaint, paragraphs 9 through 22. Moreover, Count I of plaintiff’s

complaint fails to allege any breach of a duty owed by Defendant to plaintiff was the proximate

cause of plaintiff’s injuries and/or damages. Id. The closest plaintiff gets to anything resembling

a claim for direct negligence is the allegation that defendant “was negligent in permitting Thomas

Choi to leave the premises and drive his motor vehicle when it knew or should have known that

Thomas Choi was intoxicated.” See Plaintiff’s Amended Complaint, paragraph 9. However, mere

conclusory allegations of negligence are insufficient under Florida law. See Clark v. Boeing Co.,

395 So. 2d 1226, 1228 (Fla. 3d DCA 1981). The essential elements of a cause of action may not

be inferred from the pleadings. Sanderson v. Eckerd Corp., 780 So. 2d. 930, 933 (Fla. 5th DCA

2001).

         Florida Rule of Civil Procedure 1.110 governs the general rules of pleading. With respect

to claims for relief, Rule 1.110(b) provides that the pleading:




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                                               Defendant, Space Exploration Technologies, Corp.
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               must state a cause of action and shall contain . . . (2) a short and plain
               statement of the ultimate facts showing that the pleader is entitled to relief.

Fla. R. Civ. P. 1.110(b).

       This rule, along with the other Florida Rules of Civil Procedure, were “adopted to establish

an orderly and efficient judicial procedure to handle cases.” Thomas v. Pridgen, 549 So. 2d 1195,

1196 (Fla. 1st DCA 1989). As part of this requirement, the pleader must prove the necessary

elements in order for the pleader to prevail. Barrett v. City of Margate, 743 So. 2d 1160, 1162

(Fla. 4th DCA 1999). In doing so, the pleader “must plead factual matter sufficient to apprise his

adversary of what he is called upon to answer so that the court may, upon proper challenge,

determine its legal effect.” Messana v. Maule Indus., 50 So. 2d 874, 876 (Fla. 1951). Additionally,

factual allegations must be set forth that can be supported by evidence that gives rise to liability.

Barrett, 743 So. 2d at 1162-63. It is clear from these procedural rules that Florida is a fact pleading

jurisdiction, not a notice pleading one. See Deloitte & Touche v. Gencor Indus., 929 So. 2d 678,

681 (Fla. 5th DCA 2006).

       The reality of the situation is that plaintiff is attempting to turn a claim for vicarious liability

into an additional claim against defendant for direct liability. This is in essence an attempt to fit a

square peg into a round hole. Count I for direct negligence is essentially a carbon copy of count

II for vicarious liability. Compare plaintiff’s amended complaint paragraphs 9 through 22 with

paragraphs 23 through 35. The facts as plaintiff has pled them, and as plaintiff’s counsel knows,

do not support a claim for direct negligence. Though defendant disputes it is vicariously liable to

plaintiff for the negligence of Thomas Choi, defendant must acknowledge that plaintiff has at least

properly pled a claim for vicarious liability. The same cannot be said for Count I.




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                                             Defendant, Space Exploration Technologies, Corp.
                                        Answer and Affirmative Defenses and Motion to Dismiss
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       As such, Defendant respectfully requests this Court dismiss Count I of plaintiff’s complaint

for failure to state a claim of direct negligence for which relief may be granted and the failure to

comply with Florida’s pleading requirements.


                                     CERTIFICATE OF SERVICE


       WE HEREBY CERTIFY that on this 4th day May, 2020, a true and correct copy of the

above and foregoing Answer and Affirmative Defenses and Motion to Dismiss was filed with

the Clerk of the above styled Court using eFiling Portal. We also certify that the foregoing

document was served this day on all counsel of record identified on the attached Service List via

electronic mail.

Dated: May 4, 2020

                                         TYSON & MENDES LLP


                                    By: /s//HALDON L. GREENBURG
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                                       Haldon L. Greenburg
                                       Attorneys for Space Exploration Corp
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                                          Defendant, Space Exploration Technologies, Corp.
                                     Answer and Affirmative Defenses and Motion to Dismiss
                                                                CASE: 05-2016-CA-53532

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Attorney for Defendant Thomas Choi




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                           EXHIBIT C
     *
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                                 Brevard County Fire Rescue                                Account#
                                       PO Box 915189                                       38622938
                                      Orlando, FIL 32891


                                       Itemized Statement

             Patient                                                   Trip
Pappas, Karen                                     Date of Service: 06-09-2016
5107 Arlington Rd                             Dispatch ID Number: 041265
COCOA FL 32927                                             Pickup: Wb 528 Mm 49
                                                         Destination:_Cape_Canaveral_Hospital
                                       Itemized Charges
                  Description                     Unit Cost                    Units             Amount
             BLS Emergency Base Rate                                 501.00       1                   501.00
              BLS Emergency Mileage                                    9.18       6                    55.08
                                         Account Detail
                  Transaction                  I   Scan #                     Post Date          Amount
        Payment to EMS Secondary Insurance
                       -                              I p610015366947         09-08-2016     J        275.52
                                     Account Summary
      Total Charges         Total Payments      Assign/Adjust                              Balance Due
         $556.08                $275.52             $0.00                                    $280.56




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  Cape Canaveral Hospital
  781 West Cataa Beach Causeway, Cocoa Beach, FL 32931                                          cioonouoea
                                                                                         PAPPASJKAREN EDNA




                                                             Requost Dte 6142018

                                                                  Account C1IUOT3000SQ
    PAPPAS,KAREN EDNA                                          MtIThSSIDTh: 311.412010
    5107 ARLINGTON ROAD                                         Discharge: 311.412010
    COCOA, FL 3297
                                                              Insurance 1:
                                                              Insurance Z




    Date   Department                Code     Transaction Descrirlion               Quantity
   3/14010 (C Cardiology             19008    ER EKE ROUI1N!W/REQLASITIOM                 I       $374.00
   311412010 CC Emergency Dept       35       IV FLUID INFUSION FIRST HOUR                I       $282.00
   3/1412010 CC Emergency Dept       00171    SALINE 1001< IV                             1
   3114/2010 CC Emergency Dept       39       IV PUSH EACH ADDITIONAL DIFFMID             1       $100.00.
   3/14/2010 CC Emergency Dept       11003    El LEVEL III                                I       $603.00
   3/14/2010 Ct Emergency Dept       12082    1A3 CRAW                                    1           $13.00
   3114/20W CC Laboratory SottLab    21895    TR0PONN I                                   I
   3/14/2010 CC Laboratcuy SotiLub   10080    COMPLETE BLOOD COUNT                        I       $205.00
   3/14/2010 CC LsboratorySoftLab    9999     VENIFUNCTIWE- CHRG ONLY                     I
   3/14/2010 CC LoboRtoly Scfttsb    21230    METABOLIC PROFILE, COUP.                    I       $187.00
   3/1412010 CC LaboratciyoltLsb     2I10     LIPASE                                      I       $270.00
   311412010 CC Laboratory BoftLeb   10(I65   RPLX URINE MICROSCOPY             -         1        $36.00
   3/1412010 CC Laboratory SoitLab   10571    URINALYSIS                                  I        551100
   3/14/2010 CC Ptrntmacy            75914    CARAFATE EQ, IG TAB                                      $345
   3114/2010 CC Pharmacy             99003    IV SEt, 0.9% NACL2SOML                      I       $116.60
   3114010 CC Phalmacy               24642    PEPCLD IOMGIML2MLINJ                        I        $ablE
   311412010 CC Radiology            15037    CRXRCHESTZ.VIEW                             I       $279,00
                                              ThIS Charges                                       $2$7110       -




     Dote     Department             Code     1'rãnsaction Desitlption              Quantltv      A   T—noun
                                                                                                      _____


    '1/8/2010                        A2860    CHARITY ALLOW - ANCA                        I     ($2,811.80)
                                              Total Adjustments                                 ($2,871MIfl
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            ------------------------------------------------------------
                           BREVARD PflYSICIAN ASSOCIATES, PLLC
                                 1775 W HIBISCUS BLVD
                                        SUITE 215
                               MELBOURNE, FL 32901-2627
                                      (321)255-9671
            ------------------------------------------------------------
Patient:   KAREN E PAPPAS                                       11001100169
                             x     x
           xxxxxxxxxxxxxxxxxxxxxxx
            COCOA, FL 32927                                       Date of Birth             x
Location of Service: HROP HOLMES REGIONAL MEDICAL CENTER
Place of Service
Physician          ~ BERDI DIANE BERGAU           Tax ID/SSN                       :4
               -




 7/25/16   73110 R,kDEX WRIST COMPLETE MINIMUM 3 VIEWS                         26.00
           DX     1) 552,5021D   2) 552.6121)
12/19/16   BSFL     Receipt *:   36263                                                    8.96-
12/19/16   BSFL     FLORIDA BLUE SHIELD ADJUSTMENT                                       17.04-
 7/25/16   73630 RADEX FOOT COMPLETE MINIMUM 3 VIEWS                           25.00
           Dx     1) 592.201D
12/19/16   BSFL    Receipt #:   36263                                                     8.62 -
12/19/16   BSFL    FLORIDA BLUE SHIELD ADJUSTMENT                                        16.38-
 9/07116   73110 RADEX WRIST COMPLETE MINIMUM 3 VIEWS                          26.00
           DX     1) 552.5020   2) 552..612D
12/31/15   BSFL    Receipt #:   39730                                                     8.96-
12/31/16   BSFL    FLORIDA BLUE SHIELD ADJUSTMENT                                        17.04-
 9/07/16   73610 RADEX ANKLE COMPLETE MINIMUM 3 VIEWS                          26.00
           DX     1) 592.1010
12/31/16   BSPL    Receipt :    39730                                                     8.96-
12/31/16   BSFL    FLORIDA BLUE SHIELD ADJUSTMENT                                        17.04-
--------------------------------------------------------------------------------
                   Tota)s     Charges .......    :                            103.00
                              Payments,                                        25.50..
                              Unapplied Cash    .   .   .                        .00
                              Adjustments ..... :                              57.50-
                              Balance Due ......            .
         Case 6:20-cv-00900-WWB-DCI Document 1 Filed 05/27/20 Page 33 of 50 PageID 33
                                                                                     Receipt 06/05/18

                        COASTAL HEALTH SYSTEMS OF BREV
                                486 GUS HIPP BLVD

                               ROCKLEDGE      FL     32955-4800
                                     (321) 632-5092 Ext.

                     Patient                                                  Trip
 PAPPAS, ICAREN                                   Date of Service;   2016-06-10
 5107 ARLINGTON RD                                Run Number:         7,491      ssn#    XXX-XX-XXXX
                                                  PU Facility:       CAPE CANAVERAL HOSPITAL
 COCOA                   FL    32927              DO Facility:       HOLMES REGIONAL MED CTR
                                                  Guarantor:

                                                           Total Charges:                     $835.00   1
Credit Description                     Check Number        Date                               Amount
Write-off! Collection                                      2017-03-02                         $402.03
INSURANCE PAYMENT                                          2016-11-29                         $432.97

                                                           Total Credits                      $835.00

                                                           Current B ilante          --   -     $000
           Case 6:20-cv-00900-WWB-DCI Document 1 Filed 05/27/20 Page 34 of 50 PageID 34

   Clox Health                                     CIOX  HEALTH
                                                                                         Invoice #: 0247881595
                                                                                         Date:
   P.O. Box 409740                                                                                   6/14/2018
   Atlanta, Georgia 30384-9740                     INVOICE                               Customer #: 1860554
   Fed Tax ID 58 2659941
                  -


   1-800-367-1500

  [lpto:
                                             JOHN L MORROW, ESQ
                                                                                [   Records from:
                                                                                     HEALTH FIRST BILLING
                                                                                                                1
     JOHN L MORROW, ESQ
     CONROY SIMBERG ET AL                    CONROY SIMERG ET AL                     1350 HICKORY ST
     2 S ORANGE AVE                          2 5 ORANGE AVE                          MELBOURNE, FL 32901-3224
     STE 300                                 STE 300
     ORLANDO, FL 32801-2637                  ORLANDO, FL 32801-2637


    Requested By: CONROY SIMBERG ETAL
    Patient Name: PAPPAS KAREN



     Description                                                Quantity      Unit Price            Amount


     Basic Fee                                                                                        10.00
     Retrieval Fee                                                                                     0.00
     Per Page Copy (Paper) 1                                          9                 1.00           900
     Shipping                                                                                          1.42
     Certification Fee                                                                                10.00
     Subtotal                                                                                         30.42
     Sales Tax                                                                                         1.98
     Invoice Total                                                                                    32.40
     Balance Due                                                                                      32,40




                                  Pay your invoice online at https://paycioxhealth.com/pay/


    Terms: Net 30 days                    Please remit this amount        $ 32.40 (USD)



    Clex Health
    P.O Box 409740
    Atlanta, Georgia 30384-9740
    Fed Tax ID 58 2659941
                      -


    1-800-367-1500
                                                                            Invoice #: 0247881595


                                                                            Check #
Get future medical records as soon as they are processed,                 I Payment Amount
by signing up for secure electronic delivery,
Register at: edelivery.cioxhealth.com

Please return stub with payment.
Please include invoice number on check.
To pay invoice online, please go to bttps:Iipaycioxheffiith.ac.rnL.aI or call 800-367-1500.
Email questions to colleotionsdcioxhealth.com.
Case 6:20-cv-00900-WWB-DCI Document 1 Filed 05/27/20 Page 35 of 50 PageID 35




  Holmes Regional Medical Center
  1360 South I4ICICDI7 Street, Melbourne, FL 32901                                                 )11620400286
                                                                                            PAPPABIKAREN EDNA




                                                              Requent Date: 6/1312018

                                                                     AccoUtd: 111620400206
     PAPPASKAREN EDNA                                              Admtsstorc 7/25/20Th
     5107 ARLINC4ION ROAD                                           Discharge: 7125/2016
     COCOA FL 32027
                                                                  Insurance 1: 202050 on:co
                                                                  Insurance 2: 401625 BCBLtJSSELC1(QIf-MAR


    I!1 Ift

    Pg       Ponartifient                        transaction Descrfntlou                Quanfh         Amount
   712512016 HR Radiology               15315    HRXR FOOT MIN 3VIEWSflIG14T                  I
   7/26)2016 MR Redlology               15354    HR XR WRIST MIN 3 VIEWS LEFT                 1       $490.00
                                                 total Charges                                        $993.70

     U4IIr
    Date     DeflartrnOnt               Code     Tranfllon Description                  Quantdv        Amount
   7/29)2016                            MOOD     CONThAQTUAL ADJL/61MENT                     1        (5711.04)
   8/1612016                            MOSO     COMTADJ OTHER AIJJ
                                                          -                                  I         $771.04

                                                 Total Adjustments                                       $0.00

 LzinDlsw
     Date      Degafte                  Cq0e     Traisaction Description                Quantity       Amount
   8/16/2016                            12000    PYMT- COMMERC$AL. INS                        I          $0.00
    9/2/2010                            12100    PYMT-IN&JRANCE ERA                           1        ($42.49)

                                                 Total Payments                                        ($42.49)
Case 6:20-cv-00900-WWB-DCI Document 1 Filed 05/27/20 Page 36 of 50 PageID 36




 Holmes Regional Medical Center
 13511 South Hickory Street, Melbourne, FL 3201                                                        H16204110266
                                                                                                PAPPA$,KAREN EDM

                                                 Remaining Balance                                           $951.25




   For billing or payment related questions please contact Custonmr SnrWce.
         Phone: ('i 254-9239
         Hours: 11m0AM-$:09PM EST Monday -Thuradny
                tUOAM - h:OflPM EST Friday

   Please contact the Member Services Department of your Insurance carrier sadler refer to your plan
   coverage documents to verify possible eu-payments1 co-inswun c, and deductibles that may beyour
   reuponslblltty,

   if you Were a patient at one of our hospitals or facllltleu, you may also receive bills from other physicians or
    providers who were involved with your care.
Case 6:20-cv-00900-WWB-DCI Document 1 Filed 05/27/20 Page 37 of 50 PageID 37




 Holmes Regional Medical Center
 1380 South Hickory Street1 Melbourne, FL32$01                                             I41616200057
                  --
                                                                                     PAPPAS,MIIEN COMA




                                                           Requcat Date; 611312010

                                                               Account: H1616200057
    PAPPAS,KAREN EDNA                                        Admltslun: 6/1012016
    8107 ARLINGTON ROAD                                       DIccharge 8/15/2016
    COCOA, FL 32927                                         Insurnod t 262050 GWCO
                                                            lneuience : 404625 EQ DLL)E SELECT 2HPMM


 [.IIKInL*
    Date DeDartMeflt                  cEfø     tmnpntign Dcvpflan               QuantIty,       Aniouiit
  611012016 HR CsntjaI/tjtsrtbut     611!9     SEI,IV PRIMARY PUMP PLUM 5184           1          *28.28
  61`1012016 HR LabaratdtysoflLsh    42001     RH -CHRG ONLY                           1          $41.93
  6/10/2016 HR Laboratory Softtsb    42079     AOO&RH VERIFY - CHRO ONLYZZ             I           $00D
  611012010 HR LaboratorySofiLub     42080     A9O VERIFY CHRG ONLY                    I           $0.00
  6110/2016 HR LabororySof1Lab       424]lJ0   ASO -CHRG ONLY                          I          $41.03
  6/10/2016 HR Labaratciysofllst     40310     ANTIEODYSCREEN                          1          579.68
  0/10/2016 HR Laboratory sbllLab    9999      Va4*'LJNCTURE- rjHRG ONLY               I          $1600
  6/1012016 HR Laboratory Goftiab    42061     RH VERIFY- CHRQ ONLY                    I           $0.00
  81`10/2016 HR Nursing Room1ad      12110     aRTHO SEMIPRIVATE                       I      *1.056.63
  6110/2018 HRpksrmacy               22167     MORPHINE SULFATE 4MG/ML[NJ              I        $110.70
  8110121116 HR Pharmacy             26166     tGILACE EQ. ICIJMG CAP                  1           $8.30
  6/10/2016 HR Pham1ay               22217     £ERCOCET5-32MGTAB                       2         521,50
  6/10/2016 HR Pharmaj               22217     IERCOOETS-325MGTA                     -1         ($10.75)
  6(10/2016 HR Pharmacy              22187     MORPHINE SULFATE 4M0/ML INJ             1        $110.70
  6(10/2016 HR Piaf?naty             26155     SOLACE EQ. 100MG CAP                    I           $830
  61`10/2016 HR Pharmacy             24991     ZOFRAN 4MG/2M1. 1W                      1          $99.76
  6/1012016 HR Pharmaty              22217     PER000ET6-325M6TM                       2          221.50
  6/10/2016 HR Phermay               22.217    PEROOCETS4ZSMGTAB                       2          22160
  8/10/201$ HR Pharmeby              24101     LOVEMOX40MGI0.IMLINJ                    I        $10370
  6/1012016 HR Pharmacy              12009     BACITRACIN TOP OINFaO3M                 I          $29,40
  6/1012016 KR Pharmacy              22217     nRcotEr 5-325MG TAO                    -2         ($21.50)
  6110/2016 HR PhermaGy              24991     ZOFRAN4MG/2MLIWJ                        1          $99,75
  61101201 HR R2d1olc9y              12372     HR CT PaCT R W/0  CONTRAST              I      $2,064.89
  6/10/2015 HR Radocy                1200$     HR CT ID RENDERING W/POSTPRCCESS        I      $1,346.68
  0/10/2010 HsTraumaCentar           1004      ACTIVATION TRAUMA RESPONSE FOR C        1
  6/10/2016 HR Trauma Center         110D5     ED LEVEL                                1      52,150.72
  6/1012018 HR Trauma Center         00170     IV Etuib                                I        $13300
  6/11/2016 HR LaboralorysofiLab     21435     POCT GLUCOSE METER                      I         $22.48
  e111/20I6 HR NumIrt Room/Bad       12110     OSWOSEM1PJVATE                          I      $1,85883
  6/11/2016 I-SR flannay             20491     TYLENOL EQ XMO TAB                      2          $2.25
  8/1112010 HR Pharmacy              26155     COL.ACM W. 100MG CAP                    1          $6.30
Case 6:20-cv-00900-WWB-DCI Document 1 Filed 05/27/20 Page 38 of 50 PageID 38




  Holmes Regional Medical Center
 1380 South Hrckoiy Street, Melbourne, FL 32901                                               H1616200057
                                                                                        PAPPASKAREN EDNA
  611112016 HR Pharmacy              21350 ANCEFIGM/DSSOML                               I        $10220
  6/1112016 HR Pharmacy              21350 ANCEF 13M105 WML                                      ($102.70)
  6/11/2015 HR Pharmacy              22217 PERCO0T5-325MG TAB                             1        $iom
  611212016 HRAresthesla             10022 IPANES1MIN CHARGE                            136     $5,378.06
  6/12/2010 HRMesthesia'             9044 CANNULA 02 ORAL NASALSMARTMAC                   I        $36.19
  6/12/2013 HR Laboratory &fllab     10200 000 WFIFIOUTAUTO 01FF WOO                      1      $122.72
  611212018 HR Laboratory SdfiLab    09999 VEWIPUNCTLJRE CHRO ONLY
                                                          -                               I        $18.Do
  6/12/2016 HR LabDralcrysnfttab     20470 CHPIfl                                         I
  6/12/2016 HR Ntirslng Room/Bed     12110 CR1110 SEMIPRIVATE                             I     $1,856.03
  6fl212015 HR PACUlReccvery Rni     10023 IP PACUIMIN CHARGE                           66      $2,269.56
  6112/2016 HR Pharmacy              24685 ROBINUL EQ, 0.ZWWML2OML INJ                    I      $126.00
  6/12/2016 HR Pharmacy              22168 MORPHINE SULFATE 2W011M11 INJ                  2       $221.40
  6/12/2016 HR Pharmacy              21350 NIOEE IOWOS SOML                               I       $102.70
  5/1212016 HR Pharmacy              22168 MORPHINE SULFATE 2M6/IML 1111. INJ             I      $110.70
  611212016 HR Phamixy               22090 FENTANYLSOMCG/ML 2v1L INJ                      I      $109.60
  6/12/2016 HR Pharmacy              2407 DECADRON EQ. 4MGIML INJ                         1      $100.00
  6/12/2016 HR Pharmacy              24991 ZOFRAN 4MOI2ML INI                             I        $aam
  6(12/2016 HR Pharmacy              21350 ANCEF 1GM/DO SOML                             -1      JS1070)
  6/12/2016 HR Pharmacy              22166 MORPHINE SULFATE 2MI3I1ML IML INJ              2       $221.40
  6/12/2016 HR Pharmacy              26155 COLACE EQ. 100MG CAP                           1         $5.30
  6/12/2016 HR Pharmacy              22217 PER000ET 5-325MG TAB                           2        $21.50
  6112/2016 HR Pharmacy              21350 ANCEFIGMIDSSOML                               -1      ($102.70)
  6112/2016 HR Pharmacy              24686 ROBINIJ1. EQ. a2Mw11wL INJ                     2       $213.10
  6/12/2016 HR Pharmacy              24461 ANCEF EQ. 1GMINJ                               1       $10000
  6(12/2016 HR Pharmacy              13640 LACR!-LUREOPHTHOINTUENTS,56M                   1        $2880
  5/1212t16 HR Pharmacy              22th2 VERSEI32M(/2MLINJ                              1       $109.60
  6/12/2016 HR Pharmacy              24341 NEOSTIGMINE 3MG!3ML NJ SRYG                    1       8131.60
  6/12/2016 HR Pharmacy              24220 1I000AINE F10L2%SML NJ                         1       8100.18
  6/12/2010 HR Pharmacy              24337 NFMEX10MG/5MLINJ                               I       $100.35
  6112/2016 HR Pharmacy              24991 ZOFRAN 4MGI2ML INJ                   ,         I
  6112/2016 HR Pharmacy              24665 RCBIF4UL EQ. OIMG/ML 201& IN.!                -1      ($128.00)
  02/2016 HR Pharmacy                21350 ANCEFIGM/0650ML                                1       $102.70
  8(12/2018 HR Pharmacy              24532 EPHEDRINE SULFATE EQMG/ML IN!                  I       $108.40
  8(12/2018 HR Pharmacy              2423  NEO-STNEPHRINE 100 MCGIMI. INJ SYR             1       $102.85
  8(1212016 FIR Pharmacy             22090 FEN1'ANVL SOMCG/ML 2//t INJ                    I       $109.50
  611212018 FIR Pharmacy             24514 DIPRIVAN ROUMWOML,1NJ                          I       $101.20
  6112/2016 HR Pharmacy              22091 FENIANYL6CMCG/MLSMLINJ                         I       $109.35
  5/12/2016 HR Radiology             15295 I1RXRANICLEMIN 3V1EW$RIGIIT                    1       $656.79
  611212016 HR RadIcIoy              16370 HRXR WRIST 2MEWS LEFT                    .
                                                                                          I       $440.00
  5/12/2016 HR RadioIoy              15405 HR XR FLUORO FOR 0W431 LAB PROC                I         $0.00
  611212016 HR Radiology             15405 HR XS P114080 FOR OR/GI LAB PROC               1         80.00
  6/12/2018 FIR Radiology            15315 I4RXS F0OTWIP 3VIEWS RIGHT                     I       $503.78
  6/12/2016 HR SWg8I'yPmCedLJTe      86507 SCREWCL7P(60.70)                               S     $1,519.00
  6/1212045 HR Surgery Procedure     79013 PACK, EXTREMITY                                1       $129.11
Case 6:20-cv-00900-WWB-DCI Document 1 Filed 05/27/20 Page 39 of 50 PageID 39




  Holmes Regional Medical Center
  1350 South hickory Stree,t Melbourne, FL 32901                                                 H1616200051
                                                                                        PAI'FAS,IcAREH EDNA
   611212010 HR Surgery Procedure      8404    OUIUR!Ct.4(ID-11)                          I         $90.78
   6112/2016 HR Surgery Procedure     8B08     PIN CL 6(25-40)                            1       $193.80
   6/12/2010 HR Surgery Procedure     10021     P SUR)MN CHARGE                         136     $20.113t4
   6/12/2016 HR Surgery Procedure     88508    SCREW CL S' (7010)                         6      $2.03.20
   611212018 HR &Jr9ery Precedure     88404    SIJTURR CL 4(10-1?)                        1         $0.78
   6/12/2010 HR Surgery Procedure     80483    HID CL 13 (120-140)                        3      $1,805.80
   61121201$ MR Surgery Irtcedtire    79574    OUFF.TOURNJIQLILT3O-441)1SP                I       $133.02
   6112/2016 HR Surgery Procedure     79674    CUFF, TOURNIQUET 3O-44015P                 I       $iaa.%
   6112/2010 MR Surgery Procedure     85514    SCREW 0114P (130-140)                -     2      $1262.80
   6/12/2015 MR Surgery Procedure     8W3f     $TAFLERS.PRELOAOED CL (4-10)               1         $56.40
   6/1212015 HR surgery Procedure     05068    PLATE CL 3 (1400-1500)                     1      $6765.00
   6112)2015 HR Surgery Procedure     85531    STAPLERS PRELOADEP CLI (4-10)              1         158.40
   6)1212016 HR Surgery Procedure     80480    Alt CL 10 (10-80)                          2        $69440
   811212016 HR Surgery Procedure     àeJS     PLATE CL 28 (700-750)                      I      $3,382.50
   0/13/2010 HR tabwatbiysofllab      10080    COMPLETE CBCW/AIJTO nlrrwac                1       1158,21
   611312016 HR LaborathrySbfttab     99999    VENIPIJMCThRE-CHRG ONLY                    1         $16.00
   6/1312016 HR Laboratbly6oftLeb     74440    VttAMND1,2s-DIHYDRO)cY                     j
   6/1312016 HR Laboratc.ySoftLab     21365    PARAThY.HORMOf4E-JNtACI(0t4LY PTH)         I
   5113)2016 HR Labor"SoftLab         21190    THYROID STIMULATING HORMONE                I        $130.78
   0/1312016 HR Laburatixy suflLub    20370    CALCIUM, IONIZED                           1        $13416
   (I/1312015 HR LaborstorySofiLab    99999    vtJ1PL1P4CTURE-0HR3 ONLY                   I          $ltoo
   6/13/2016 HR Laboratory $bftthb    20470    CHEM 8                                     I        $161.86
   6/13/2016 HR 14UraIh9 RoomiEod     12110    ORTHO SEMIPRIVATE                          I      $1,868.63
   6/13/2016 HRPhnrMty                24991    ZOFRAN4MG?2MLINJ                          -1        ($99.7
   6113)2016 HRPh8iffity              22217    PERCOCE78-325MC5 TAD                      -2         (121.50)
   6/1312016 HRPharrMcy               21350    PNCEF 10W0550ML                            I        $102.70
   6/1312016 HRPharrnxy               24991    2DFRA),I4MO)2MLINJ                         I          $99.75
   6/13/2016 HR Pharmacy              28155    COLACE EQ. 100MG CAP                       I           $6.30
   61120016 HR Pkiarniacy             22217    flRcOCEI'ft-32MG TAb                       2          $21.50
   6/1312016 HR Pharmacy              22158    MORPHINE StJLFATE2MC/1ML IML iNJ           2       1221.40
   6/13/2016 HR Piffimlacy            26156    Cth.ACE EU, 100MG CAP                     I            $030
   6/13/2016 HR Pharmaby              22160    MORPHINE SULFATE 2MGIIMIL IML NJ          2        1221.40
   6/13/2016 HR Pharm2y               22168    MORPHINE SULFATE 2Mr$1ML IML INJ          2        1221.40
   B/13t201 HR Pharniatiy             21310    ANCEF 131W0550M1                          I         $102.70
   6/13/2010 HR Pharmacy              22217    PERCOCEIE-525M0 TAD                       2           $21.50
   6/1312016 HR Pharrroy              22217    PRCOCET 5-325MG TAO                       2           121,50
   6/13/2016 HRPharmtli               24101    LOVENOX40MG/0AMLINJ                       I         $1070
   6113/2016 HR Rehab Services        11109    PT EVALUATION INIIIALThERAPY              I         535100
   6(13/2016 HR Rehab Services        12734    OT HOME MANAGEMENT/l5 MIN                 I         3le4.00
   6/13/2018 HR Rehab Services        12711    OT5VALIJATJON INITIAL,IHERAPY             I         $327.00
   6/13/2016 HR Rehab Services        11733    P1 ThEK/PEUTrC ACTI V1rIS/15 MIN          1        5199,00
   0/1412016 HR Laboratory soittsb    10080    COMPLETE 080 W/AUTO 01Ff waG              I         $168.21
   8/14/2010 HR LeboratorySoftLsb     20470    CHEM 8                                    1         $161.88
   8/14/2016 HR Laboratory SoftLSb    99990    VENIPLD4CTURE - CI4RG ONLY                1          $16.00
Case 6:20-cv-00900-WWB-DCI Document 1 Filed 05/27/20 Page 40 of 50 PageID 40




 Holmes Regional Medical Center
 1350 South Hickory Street, Melbourne, FL 32801                                        H1616200057
                                                                                 PAPPASKAREN EDNA
   6114/2018 HR Nursing Roairited    12110    CRTHOSEMIPRIVATE                    1      $1,855.83
   6114/2016 HR Pliavrngcy           22217    PERCOVET5-325MG TAB                 I         $10.75
   011412016 HR Ptiwrnacy            26155    C01.ACE EQ. 100MG CAP               I          $6.30
   6/1412016 HR Tlinrmacy            26155    ODLACE EQ, 100MG CAP                I          $530
   6/1412016 HRPharriecy             22217    PEacoCr6-2aMGTAB                    I         $1025
   (V14112DIO HRPtiarnBoy            24101    LOVENOX4MGtOAMLINJ                  I       $103.70
   6P1412016 HRPhamiacy              22217    PER000ETS-325MG TAB                 2         $21.50
   611412016 HR Rehab Sarvlces       11133    PTThERAPa/TICACrrvmEs/ISMIN         I       $199.00
   6/15/2016 HR Pharmacy             22217    PERCOCEr-32M0 TAB                   2         $21.50
   6t1512016 HR Pharmacy             22217    PERCOCr5-325MO TAB                  I
   6fl512015 KR Pharmacy             22217    PERCOCET5-32ZIGTAE                 -2        ($21.50)
   8115/2010 KR Pharmacy             22217    PERCOCET5-32M0TAB                   2         $21.50
   6115/2016 HR Pharmacy             24101    LOVENOX4OMGIO.4ML tNJ               1        $10370'
   6/1512016 HR Pharmacy             26165    COLACE EQ. 100MG CAP                I          $630
   6/15/2010 HR Pharmacy             22211    PERCOCLT 632eM0 TAn                -1        ($10.75)
   6/15/2015 HR Pharmacy             22217    PEaCOQET 5325MG TAB                 1         $10.75
   6/15/2016 HR Rehab Services       11733    PTTHERAPEUI1CACTMTIESII5MIN         1        $100.00
   6/1612016 HR Rehab Serutes        12734    CT HOME MANAGEMENT/is MIN           I        $164.00,
                                              Total Charges                             $80,397.13
                                                                                       --------------



     Date     Department             Code     Tnnnetlqp Description         Quantity       Amount
   6/20/2016                         A5000    CONTRACTUAl. ADJUSTMENT             I    ($62,676.47)
   7/27/2016                         M060     CONTAIN - OTHER AN                  1     $52,615A7
   712712016                         M060     CONT ADJ - C/A 2ND                  1    ($88,574.78)
   8/29i2010                         A5060    CONTADJ- CIA 2ND                    I     $68,574.70
   6/30)2 016                        A5000    CONTRACTUAL ADJUSTMENT              I    ($02,670.47)
   8/3012016                         MOOD     CONTRACTUAL ADJUSTMENT              I     $62,676.47
                                              Total Adjustments                              $0.00

 lks'iil4tfl-
    Date    Department               Code    Tranactlon bescrktlon          Quantity       Amount
  712612016                          12000   PYMT- COMMERCIAL IN                             $0.00
  6/26,2016                          12100   PYMI- INSURANCE ERA                  I     ($1,725.02)
  8/29/2016                          12020   PVMT- HMO MANAGED C ARE              1     ($1325.02)
  6/2012016                          12070   P'MT - PPOIPUS MANAGED CARE          I      11,725.02
                                             Total Payments                             ($1,725.02)
Case 6:20-cv-00900-WWB-DCI Document 1 Filed 05/27/20 Page 41 of 50 PageID 41




  Holmes Regional Medical Center
  1350 South Hickory Street, Melbourne, FL 32901                                                          H16102110057
                                                                                                 PAPPASKARa1 EDNA

                                                  Remaining Balance                                        $10,672,11




    For billing or payment related questions please contort Customer Service:
          Phone: (Afl) 254.9239
          Hours: 8:00AM 9:OUPM EST Monday -Thursday
                       - 5;OOPM EST Friday



    Please contact the Member Services Department of your insurance caler andlor rotor to your plan
    coverage documents to verity pcsstble co-payments, co-Insurunuos, and deductibles that may be your
    responsibility.

    If you were a patient at one of our hospitals or facilities, you may also receive bills from other phijsicbns or
    providers who were Involved with your cart
Case 6:20-cv-00900-WWB-DCI Document 1 Filed 05/27/20 Page 42 of 50 PageID 42




  Holmes Regional Medical Center
 1350 South Hickory $frset Melbourne, FL 32901                                                   H165001C28
                                             --   -
                                                                                         PAPPAS,KAREN EDNA




                                                          Reqtrna Oath: 611312018

                                                                 Account: 141625001026
    PAPPAS,KAREN EUNA                                         Admission. 911/2016
    5107 ARLINGTON ROAD                                       Discharge: 911/2016
    COCOA, FL 32927
                                                             insurance 1; 202050 GEICO
                                                             Insurance 2: 404825 BC GLUE SELECT (QHP-MAR




     0218    Deoartntant             24a     Transaction Description                Quantity       Amount
    911/2016 HR RadoIcy              15295   HR XR ANKLE WIN VIEWS RIGHT                  I
    911/2016 HR Radiology            15354   HR)(R WRIST MIN 3 VIEWS LEFT                 I        $490.00

                                             Total Charges                                       $1,148.70

  Adjustments
    Oats        Department             gg    Transaction Desc$ptlon                 panttt,        Axnciunt
   911 112016                        A5000   CONTRACTUAL ADJUTMENr                       I        ($869.17)
   9/28/2016                         A5050   CONTADJ- OTHER AIJJ                          1        $osau
                                             Total Adjustments                                       $0.u0
 bCuAarTH
    P4Iij    Departmen               gagge   Transaction Description                Quantity       Amount
   912712016                         12000   PYMI- COMMERCIAL INS                         I          $0.00
  1D/28/2018                         12100   PYMI INSURANCE ERA                           I        ($42.49)

                                             Total Payments                                        ($42.49)
Case 6:20-cv-00900-WWB-DCI Document 1 Filed 05/27/20 Page 43 of 50 PageID 43




  Holmes Regona1 Medical Center
  1350 South Hickory Slraet, Melbourne, FL 32901                                                          Ht62501010
                                                                                                  PAPPAS.KAREN EDNA

                                                   Remainlug Balance                                         $1j0e20




    For billing or payment related qbastiohn please contact Customer Seruleet
          Phone- (E77) 264423
          Hours tOQAM - tQOPM EST Monday -Thursday
                &COAM 5:II1IPM EST Friday

    Please contact the Member Services bopaflmant at your Insurance catdcrandlov reforta your plan
    coverage documents to verily possible cu-paymuhlS co-irsurances, and deductibles that may be your
    respcnsibIlity,

    If you Were a patient at one of our hospitals or facilities, you may also receive bills from oilier physicians or
    providers who were Involved with your care.
                                ------,.,---                           .   .
                                                                   -           -,

     -               -                               .
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                                                                                                                          Page 1 of 2
PAPPAS, KAREN
Date of Birth: 4x x/
                                                                   Wuesthoff Medical Center Rockledge
Date of Admission: 12/15/16
Date of Discharge: 12/15/16                                                Account Summary: Detail Charges,
Account Number: 1825221                                                         Adjustments, and Payments
Charaes Detail



   12/15/2016      412   1   0250       18140   IBUFROFEN 200MG                             3           $11.58                $34.74
                                                                                            l
   12I15/2016      428       0320       73562   KNEE3V                 -
                                                                              -                      $1,304.50   J   -     $1,304.50
   12/15/2016      441       0921       00210    VENOUS COMPRESS                            I          $61225                $61225
   12/15/20161     480   F   0450     F 00515   ER DEPT INTERMED                            Ii       $1,338.51             $1,338.51




    ustments Detail




                Detail




Balance                                                                                                                  $3,290.00


This itemized statement is provided by a FOR PROFIT HOSPITAL LICENSED BY THE STATE OF FLORIDA pursuant to Florida
Statues Title XXIX Public Health Section 395.001 relating to itemized patient bill. Expressly note; (a) Charge and adjustment codes
have multiple uses and may be related but not exactly as stated in the generic description and (b) Commercial and governmental
medical insurance payments are subject to coordination of benefits any third party settlement must be considered primary and at
                                                                   -


such time the commercial and governmental medical insurance payments and adjustments must be refunded leaving the remaining
balance due from the related third party settlement. For any questions related to this report, contact Patient Financial Services
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